January 28, 2025

VIA ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:    United States v. Robert Menendez, et al., S4 23 Cr. 490 (SHS)

Dear Judge Stein:

       On behalf of Senator Menendez, we respectfully submit the enclosed character letters

received after our January 2, 2025 sentencing submission. Thank you for your consideration.




                                                   Very truly yours,

                                                   /s/ Adam Fee
                                                   Adam Fee
                                                   Avi Weitzman

                                                   Attorneys for Defendant Robert Menendez
Hon. Sidney H. Stein
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312
                                                                                       January 21, 2025

Re: Sentencing of former Senator, Robert Menendez


To the Honorable Sidney Stein,
I write this letter in connection with the upcoming sentencing of former Senator Robert Menendez.
In considering the appropriate sentence in this matter, I believe it may be helpful to the court for me
to describe briefly my several decades of working with former Senator Menendez to improve the
health of all New Jersey residents.
I have worked as an executive at hospitals and hospital associations in New Jersey for my entire
professional career, which spans over three decades. In most of those roles, one of my
responsibilities has been to interact with government officials at the federal, state and local levels on
matters vital to the stability of New Jersey hospitals and the health of New Jersey residents.
In my experience, Mr. Menendez was a tireless fighter for New Jersey hospitals and the patients and
communities they serve. I worked with then Congressman and later Senator Menendez on several
matters in which the federal government sought to deny money and reimbursement to New Jersey
hospitals that those hospitals were legally entitled to receive. In each instance, Mr. Menendez was
the leader in efforts to ensure New Jersey received the funds it should receive. He largely has been
responsible for New Jersey receiving billions of dollars over the past few decades in hospital and
healthcare funding that the federal government would otherwise have withheld from the hospitals
and residents of New Jersey. The positive impact of his efforts over the years in the healthcare area
would be difficult to overstate. I feel confident in stating that there are people who are alive and
thriving who would not be without Mr. Menendez's unflagging support of New Jersey healthcare
providers.
On a personal level, I found that support to be unwavering when my son was diagnosed with a
chronic and very difficult disease at age 10. Mr. Menendez was quick to offer any assistance or
support that may be needed to assist in getting an accurate diagnosis and appropriate, cutting edge
care that my son would need. I did not take him up on his offer, and my family has worked through
the complicated system to get our son what he needs, but the offer, made 19 years ago, was so very
meaningful to myself and my family and we are forever grateful that we know and were represented
by such a caring and passionate member of Congress.
This court has a difficult job in the sentencing process. I hope my letter helps the court by shedding
light on the tremendous efforts Mr. Menendez has put forth over several decades as a federal
legislator working to ensure the financial stability of New Jersey hospitals and the health of the
State's residents.
Sincerely,


Christine Carlson-Glazer
